      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 KELVIN SUMPTER, MARIA PRUETT,                    §
 SHYLA MITCHELL and GREGORY                       §
 SEWELL                                           §
                                                  §
         Plaintiffs,                              §
                                                  §              Case No. 4:17-cv-1269
 v.                                               §
                                                  §
 I.C. SYSTEMS, INC.                               §          COMPLAINT AND DEMAND
                                                  §             FOR JURY TRIAL
         Defendant.                               §
                                                  §

                            PLAINTIFFS’ ORIGINAL COMPLAINT

        Plaintiffs, KELVIN SUMPTER, MARIA PRUETT, SHYLA MITCHELL and GREGORY SEWELL,

(“Plaintiffs”), bring this action against Defendant I.C. SYSTEMS, INC. (“Defendant” or “IC

Systems”) to stop Defendant’s practice of aggressive and illegal debt collection calls to the cellular

telephones of Plaintiffs, and to obtain redress for injuries from Defendant’s conduct. Each Plaintiff

alleges the conduct and acts of others upon information and belief only, including investigation

conducted by counsel.

                                         INTRODUCTION

        1.      Plaintiffs bring this action, as shown in their respective allegations, pursuant to the

Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).

        2.      Defendant is a major, nationwide debt collection company that engages in reckless

and aggressive debt collection practices in derogation of controlling federal and state statutes and

the rights of the called parties.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                          PAGE 1 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 2 of 16




       3.      Defendant repeatedly made unsolicited calls to Plaintiffs’ cellular telephones in

violation of the TCPA. Defendant made the calls in each case without valid authority, using an

Automatic Telephone Dialing System (“ATDS”) or pre-recorded voice. Defendant continued to

make these illegal calls after each respective Plaintiff stated she did not wish to be called again.

       4.      Defendant’s conduct violates the TCPA. Plaintiff are entitled to actual damages,

attorneys’ fees, costs of court, expert fees, deposition costs, and treble damages for each and every

such knowing violation.

                                             PARTIES

       5.      Plaintiff Kelvin Sumpter is a natural person and a resident of Houston, TX.

       6.      Plaintiff Maria Pruett is a natural person and a resident of Corpus Christi, TX.

       7.      Plaintiff Shyla Mitchell is a natural person and a resident of Glassport, PA.

       8.      Plaintiff Gregory Sewell is a natural person and a resident of Philadelphia, PA.

       9.      Defendant is a corporation organized under the laws of the State of Minnesota.

Defendant maintains its principal office in Vadnais Heights, Minnesota, and may be served with

process through its Chief Executive Officer, John Erickson IV, at 444 Hwy 96 E Vadnais Heights,

MN 55127–2557.

       10.     All allegations herein of acts or omissions by a Defendant include, but are not

limited to, acts and omissions of such Defendant’s officers, directors, operators, managers,

supervisors, employees, affiliates, subsidiaries, vice-principals, partners, agents, servants, and

owners; and that such acts and omissions were committed or made with express and/or implied

authority of the Defendant, or were ratified or otherwise approved by the same Defendant; or

otherwise that such acts or omissions were made in the routine, normal course of the actor’s

employment or agency, and within the scope of the agency or employment, as the case may be.


PLAINTIFFS’ ORIGINAL COMPLAINT                                                         PAGE 2 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 3 of 16




                                     JURISDICTION & VENUE

        11.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, a federal statute.

        12.     The Court has personal jurisdiction over Defendant because it conducts significant

business in this District, and the unlawful conduct alleged in this Complaint occurred in, was

directed to, and/or emanated from this District. Furthermore, the exercise of personal jurisdiction

over Defendant in this District does not offend traditional notions of fair play or substantial justice.

For these same reasons, venue is proper in this District.

                                LEGAL BASIS FOR THE CLAIMS

        The TCPA

        13.     Congress enacted the TCPA in 1991 to address certain practices thought to be an

invasion of consumer privacy and a risk to public safety. The TCPA and the Federal

Communications Commission’s (“FCC”) implemented rules prohibit: (1) making telemarketing

calls using an artificial or pre-recorded voice to residential telephones without prior express

consent; and (2) making any non-emergency call using an ATDS or an artificial or pre-recorded

voice to a wireless telephone number without prior express consent. If the call includes or

introduces an advertisement, or constitutes telemarketing, consent must be in writing.1 Calls that

include non-marketing messages require consent, but not written consent. The TCPA grants

consumers a private right of action, with a provision for $500 or the actual monetary loss in




1
  Prior express written consent means “an agreement, in writing, bearing the signature of the person called
that clearly authorizes the seller to deliver or cause to be delivered to the person called advertisements or
telemarketing messages using an automatic telephone dialing system or an artificial or pre-recorded voice,
and the telephone number to which the signatory authorizes such advertisements or telemarketing messages
to be delivered.” 47 C.F.R. § 64.1200(f)(8).

PLAINTIFFS’ ORIGINAL COMPLAINT                                                               PAGE 3 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 4 of 16




damages for each violation, whichever is greater, and treble damages for each willful or knowing

violation, as well as injunctive relief.

        14.     Since the TCPA’s passage in 1991, the FCC has taken multiple actions

implementing and interpreting the TCPA, and has issued numerous Declaratory Rulings clarifying

specific aspects of the TCPA. The most recent, FCC Omnibus Order of July 10, 2015, (the

“Order”) provided further protection to consumers by, among other things, clarifying that ATDS

is broadly defined, confirming liability attaches to calls made to the wrong number or reassigned

number, and clarifying consumers may revoke consent through reasonable methods. In the Matter

of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, FCC 15–72, 30

F.C.C.R. 7961, (July 10, 2015), available at https://www.fcc.gov/document/tcpa-omnibus-

declaratory-ruling-and-order. The Order defines an “autodialer” as equipment/software that has

the future capacity to dial randomly or sequentially. “In other words, the capacity of an autodialer

is not limited to its current configuration but also includes its potential functionalities.” The Order

clarifies the meaning of “capacity” and that “any call” made using a device with the capacity to

serve as an ATDS requires consent under the TCPA, even if the caller is not “actually…using

those functionalities to place calls” at the time. Derby v. AOL, Inc., No. 5:15-CV-00452-RMW,

2015 WL 5316403, at *3 (N.D. Cal. Sept. 11, 2015).

        15.     The Order also states that calls placed to the wrong number or a reassigned number

are made with knowledge of the error after the first call; and consumers may revoke consent

through any reasonable method, including orally: “[w]e clarify, however, that callers who make

calls without knowledge of reassignment and with a reasonable basis to believe that they have

valid consent to make the call should be able to initiate one call after reassignment as an additional

opportunity to gain actual or constructive knowledge of the reassignment and cease future calls to


PLAINTIFFS’ ORIGINAL COMPLAINT                                                          PAGE 4 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 5 of 16




the new subscriber. If this one additional call does not yield actual knowledge of reassignment,

we deem the caller to have constructive knowledge of such;” “[c]onsumers generally may revoke,

for example, by way of a consumer-initiated call, directly in response to a call initiated or made

by a caller, or at an in-store bill payment location, among other possibilities.”

       16.     Furthermore, the TCPA established the National Do-Not-Call List, and also

mandates all businesses that place calls for marketing purposes maintain an “internal” do-not-call

list (“IDNC”). See 47 C.F.R. § 64.1200(d). The IDNC is “a list of persons who request not to

receive telemarketing calls made by or on behalf of that [seller].” Id. The TCPA prohibits a

company from calling individuals on its IDNC list or on the IDNC list of a seller on whose behalf

the telemarketer calls, even if those individuals’ phone numbers are not on the National Do-Not-

Call Registry. Id. at § 64.1200(d)(3), (6). Any company, or someone on the company’s behalf,

who calls a member of the company IDNC is liable to that person under the TCPA. The called

party is then entitled to bring a private action under the TCPA for monetary and injunctive relief.

       17.     Finally, in 2008, the FCC held that “a creditor on whose behalf an autodialed or

pre-recorded message call is made to a wireless number bears the responsibility for any violation

of the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer

Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23 FCC

Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL 7062748

(Dec. 31, 2012).

       18.     Accordingly, the entity can be liable under the TCPA for a call made on its behalf,

even if the entity did not directly place the call. Under those circumstances, the entity is deemed

to have initiated the call through the person or entity.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                       PAGE 5 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 6 of 16




                                             JOINDER

       19.     Rule 20 of the Federal Rules of Civil Procedure provides, in part: (a) PERSONS

WHO MAY JOIN OR BE JOINED.

       20.     (1) Plaintiffs. Persons may join in one action as plaintiffs if:

                       (A) they assert any right to relief jointly, severally, or in the alternative with

                           respect to or arising out of the same transaction, occurrence, or series of

                           transactions or occurrences; and

                       (B) any question of law or fact common to all plaintiffs will arise in the

                       action. See Fed. R. Civ. P. 20(a).is Court has subject matter jurisdiction

                       under 28 U.S.C. § 1331, as this action arises under the TCPA, which is a

                       federal statute.

       21.     “Under the [Federal] Rules, the impulse is toward entertaining the broadest possible

scope of action consistent with fairness to the parties; joinder of claims, parties and remedies is

strongly encouraged.” See United Mineworkers of Am. V. Gibbs, 383 U.S. 715, 724, 86 S. Ct. 1130,

1138 (1966).

       22.     Rule 20 is “designed to permit the joinder of plaintiffs or defendants whenever there

is a common question of law or fact and the right to relief arises out of a single transaction or

occurrence or a series of transactions or occurrences.” Walker v. City of Houston, 341 F. Supp.

1124, 1132 (S.D. Tex. 1971).

       23.     A ‘series of transactions or occurrences,’ means some connection or logical

relationship between various transactions or occurrences such as a ‘nucleus of operative facts or

law.’” Breidel v. Harris Cnty. Sheriff’s Ofc., 2014 U.S. Dist. LEXIS 108542, *9 (S.D. Tex. Aug.

6, 2014); quoting Hanley v. First Investors Corp., 151 F.R.D. 76, 79 (E.D. Tex. 1993). “Rule 20


PLAINTIFFS’ ORIGINAL COMPLAINT                                                           PAGE 6 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 7 of 16




is intended to be liberally construed in order to promote trial convenience.” Breidel, 2014 U.S.

Dist. LEXIS, at *9; citing Walker, 341 F. Supp., at 1132.

       24.     “The common question need not predominate; that’s a requirement for class

actions; not for permissive joinder.” See Lee v. Cook County, 635 F.3d 969, 971 (7th Cir. 2011);

Fidelity Nat’l Title Co. v. U.S. Small Bus. Admin., 2014 U.S. Dist. LEXIS 65380, *25 (E.D. Cal.

May 12, 2014).

       25.     Allegations of a “company-wide policy” that violates federal law have been held

sufficient to establish that multiple plaintiffs’ claims “arise out of the same series of transactions

or occurrences.” See, e.g., Afabor v. RaceTrac Petroleum, Inc., 2006 U.S. Dist. LEXIS 33045, *11

(N.D. Tex. May 15, 2006); citing King v. Ralston Purina Co., 97 F.R.D. 477 (W.D.N.C. 1983)

(“Common sense says that claims alleged to be part of a ‘pattern and practice’ satisfy both the

‘transaction’ and the ‘common question’ requisites of Rule 20(a).”).

               ALLEGATIONS OF FACT COMMON TO ALL PLAINTIFFS

       26.     At all times relevant to this action, I.C. Systems collected consumer debts.

       27.     Each Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

       28.     I.C. Systems used a predictive dialer system for all Plaintiffs.

       29.     Before I.C. Systems began contacting each Plaintiff, it and each Plaintiff had no

prior business relationship and each Plaintiff never provided express consent to I.C. Systems to be

contacted on his/her cellular telephone.

       30.     I.C. Systems regularly uses instrumentalities of interstate commerce and the mails

to collect consumer debts owed or due or asserted to be owed or due another.

       31.     The principal source of I.C. Systems’s revenue is debt collection.

       32.     I.C. Systems is a “debt collector” as defined by 15 U.S.C. §1692a(6).


PLAINTIFFS’ ORIGINAL COMPLAINT                                                         PAGE 7 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 8 of 16




       33.     As described, infra, I.C. Systems contacted each Plaintiff to collect a debt that was

incurred primarily for personal, family, or household purposes.

       34.     Within the past twelve (12) months, I.C. Systems called each Plaintiff on multiple

occasions in connection with the collection of a debt. On several occasions, within the past forty-

eight (48) months, the dates of which will be discovered through discovery, I.C. Systems willingly

and knowingly used an automatic telephone dialing system (ATDS) to call Plaintiffs on his or her

cellular phone multiple times in violation of the TCPA

       35.     Each Plaintiff, on at least one occasion, communicated his or her desire that I.C.

Systems cease calling him or her.

       36.     Notwithstanding these communications, I.C. Systems continued to call each

Plaintiff in connection with the collection of a debt.

       37.     I.C. Systems’s policy and practice does not adequately address or disregards

consumer’s express desire that I.C. Systems stop calling, and each Plaintiff in this case has been

harmed by this policy and practice.

       38.     I.C. Systems’s policies and procedures for processing account data received from

original creditors fail to identify easily discoverable errors and avoid the needless harassment of

consumers such as Plaintiffs.

       39.     I.C. Systems unreasonably relied upon inaccurate information provided to I.C.

Systems by one or more original creditors for whom I.C. Systems was attempting to collect a debt

when I.C. Systems called certain Plaintiffs’ cellular telephone.

                 LEGAL ARGUMENTS COMMON TO ALL PLAINTIFFS

       40.     The TCPA (at 47 U.S.C. § 227(b)(3) provides, in part:



PLAINTIFFS’ ORIGINAL COMPLAINT                                                       PAGE 8 OF 16
      Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 9 of 16




        If the court finds that the defendant willfully or knowingly violated this subsection

        or the regulations prescribed under this subsection, the court may, in its discretion,

        increase the amount of the award to an amount equal to not more than 3 times the

        amount available under subparagraph (B) of this paragraph.

        41.     The Communications Act of 1943, of which the TCPA is a part, defines “willful”

as “the conscious or deliberate commission or omission of such act, irrespective of any intent to

violate any provision[s], rule or regulation....” 47 U.S.C. § 312(f).

        42.     In order to establish a “willful” or “knowing” violation of the TCPA, a plaintiff

need not demonstrate that the defendant intended to violate the statute, or that it knew or should

have known it was violating the statute. See Roylance v. ALG Real Est. Servs., Inc. 2015 U.S. Dist.

LEXIS 44930, *31 (N.D. Cal. Mar. 16, 2015); Bridgeview Health Care Ctr. Ltd. v. Clark, 2013

U.S. Dist. LEXIS 37310, *21-22 (N.D. Ill. Mar. 19, 2013); Steward v. Regent Asset Mgmt.

Solutions, Inc., 2011 U.S. Dist. LEXIS 50046, *18-20 (N.D. Ga. 2011).

        43.     Instead, a plaintiff need only show that the defendant engaged in a “voluntary act”

that violated the TCPA. See Bridgeview, 2013 U.S. Dist. LEXIS, at *21-22; see also Roylance,

2015 U.S. Dist. LEXIS, at *31 (intentionally making phone calls that violated TCPA, without

intent to violate the statute, was sufficient to warrant treble damages).

                     ADDITIONAL FACTORS SUPPORTING JOINDER

        44.     The witness(es) that I.C. Systems will produce in response to a notice of deposition

pursuant to Rule 30(b)(6) will likely be the same individual(s) for each Plaintiff.

        45.     The information that I.C. Systems will provide in response to interrogatories related

to I.C. Systems’s policies, practices, and procedures will likely be the same, or substantially

similar, for each Plaintiff.


PLAINTIFFS’ ORIGINAL COMPLAINT                                                         PAGE 9 OF 16
        Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 10 of 16




         46.   The evidence that I.C. Systems will produce in response to requests for production

of documents related to I.C. Systems’s policies, practices and procedures will likely be the same,

or substantially overlap across the several Plaintiffs.

         47.   Joinder will allow a single trier of fact to assess the pattern and frequency of I.C.

Systems’s alleged misconduct, which is a relevant factor in the legal issues and damages in this

case.

         48.   Joinder avoids the need to conduct multiple trials and empanel multiple juries to

resolve each Plaintiffs’ fairly straightforward claim that I.C. Systems violated the TCPA or any

other asserted statute.

               FACTS SPECIFIC TO EACH PLAINTIFF – KELVIN SUMTER

         49.   Between and around from July 2015 to October 2015, Plaintiff Sumter received at

least 18 calls on his mobile telephone with number ending -1937, from 307-316-7474, a number

associated with Defendant.

         50.   Sumter is the regular carrier and exclusive user of the cellular telephone assigned

the number ending in -1937.

         51.   Defendant and/or third parties on Defendant’s behalf, placed all the calls described

above using an ATDS, as defined by 47 U.S.C. § 227(a)(1). Each call, when answered, was

preceded by a pause or “dead air” before a pre-recorded voice came online.

         52.   On information and belief, Defendant’s ATDS called Sumter on every occasion.

         53.   Sumter felt the calls were an invasion of his privacy and, as he told Defendant,

wanted the calls to stop. To the extent Defendant had any consent to call Sumter, he revoked such

consent but Defendant continued to call.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                        PAGE 10 OF 16
     Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 11 of 16




       54.    Sumter’s -1937 number is assigned to a cellular telephone service for which he

loses minutes he paid for under 47 U.S.C. § 227(b)(1).

       55.    Defendant’s calls were not for emergency purposes under 47 U.S.C. §

227(b)(1(A)(i).

       56.    All calls Defendant made to Sumter violate 47 U.S.C. § 227.

              FACTS SPECIFIC TO EACH PLAINTIFF – MARIA PRUETT

       57.    Between and around from May 2015 to June 2015, Plaintiff Pruett received at least

30 calls on her mobile telephone with number ending -1249, from 208-515-7484, a number

associated with Defendant.

       58.    Pruett is the regular carrier and exclusive user of the cellular telephone assigned the

number ending in -1249.

       59.    Defendant and/or third parties on Defendant’s behalf, placed all the calls described

above using an ATDS, as defined by 47 U.S.C. § 227(a)(1). Each call, when answered, was

preceded by a pause or “dead air” before a pre-recorded voice came online.

       60.    On information and belief, Defendant’s ATDS called Pruett on every occasion.

       61.    Pruett felt the calls were an invasion of her privacy and were without her consent.

       62.    Pruett’s -1249 number is assigned to a cellular telephone service for which she loses

minutes she paid for under 47 U.S.C. § 227(b)(1).

       63.    Defendant’s calls were not for emergency purposes under 47 U.S.C. §

227(b)(1(A)(i).

       64.    All calls Defendant made to Pruett violate 47 U.S.C. § 227.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                       PAGE 11 OF 16
     Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 12 of 16




             FACTS SPECIFIC TO EACH PLAINTIFF – SHYLA MITCHELL

       65.     From May 2015 to July 2015, Plaintiff Mitchell received at least 52 calls on her

mobile telephone with number ending -3422, from 208-843-1999, a number associated with

Defendant.

       66.     Mitchell is the regular carrier and exclusive user of the cellular telephone assigned

the number ending in -3422.

       67.     Defendant and/or third parties on Defendant’s behalf, placed all the calls described

above using an ATDS, as defined by 47 U.S.C. § 227(a)(1). Each call, when answered, was

preceded by a pause or “dead air” before a live representative came online to initiate conversation.

The calls involved pre-recorded or artificial voice, and continued in spite of Mitchell’s request to

stop (indicating a computerized or automatic dialing program).

       68.     On information and belief, Defendant’s ATDS called Mitchell on every occasion.

       69.     Defendant’s representative asked for a person not Mitchell or the regular carrier

and exclusive user of the cellular phone with number ending -3422.

       70.     Mitchell felt the calls were an invasion of her privacy and wanted the calls to stop.

Defendant had no consent to call her with an ATDS and to the extent Defendant did, the consent

was revoked.

       71.     Mitchell’s -3422 number is assigned to a cellular telephone service for which she

loses minutes she paid for under 47 U.S.C. § 227(b)(1).

       72.     Defendant’s calls were not for emergency purposes under 47 U.S.C. §

227(b)(1(A)(i).

       73.     All calls Defendant made to Mitchell violate 47 U.S.C. § 227.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                      PAGE 12 OF 16
     Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 13 of 16




             FACTS SPECIFIC TO EACH PLAINTIFF – GREGORY SEWELL

       74.     In and around January 2016, Plaintiff Sewell received at least 25 calls on his mobile

telephone with number ending -6719, from 703-291-9034, a number associated with Defendant.

       75.     Sewell is the regular carrier and exclusive user of the cellular telephone assigned

the number ending in -6719.

       76.     Defendant and/or third parties on Defendant’s behalf, placed all the calls described

above using an ATDS, as defined by 47 U.S.C. § 227(a)(1). Each call, when answered, was

preceded by a pause or “dead air” before a live representative came online to initiate conversation.

The calls involved pre-recorded or artificial voice, and continued in spite of Sewell’s request to

stop (indicating a computerized or automatic dialing program).

       77.     On information and belief, Defendant’s ATDS called Sewell on every occasion.

       78.     Defendant’s representative asked for a person not Sewell or the regular carrier and

exclusive user of the cellular phone with number ending -6719.

       79.     Sewell felt the calls were an invasion of his privacy and, as he told Defendant,

wanted the calls to stop. Defendant called Sewell repeatedly without diligently ensuring that the

debt it sought to collect was owed by Sewell.

       80.     Sewell’s -6719 number is assigned to a cellular telephone service for which he loses

minutes he paid for under 47 U.S.C. § 227(b)(1).

       81.     Defendant’s calls were not for emergency purposes under 47 U.S.C. §

227(b)(1(A)(i).

       82.     All calls Defendant made to Sewell violate 47 U.S.C. § 227.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                      PAGE 13 OF 16
     Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 14 of 16




                                FIRST CAUSE OF ACTION
                 (VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
                                  47 U.S.C. § 227 ET SEQ.)

        83.      Plaintiffs hereby incorporates by reference and re-alleges each and every allegation

set forth in each and every preceding paragraph of this Complaint, as though fully set forth herein.

        84.      The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, including but not limited to each and every one of the above cited

provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. § 64.1200, et seq.

        85.      As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., and 47 C.F.R.

§64.1200, et seq., Plaintiffs are entitled to an award of $500.00 in statutory damages, for each and

every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

        86.      Plaintiffs are also entitled to and seek injunctive relief prohibiting such conduct in

the future.

                             SECOND CAUSE OF ACTION
                         (KNOWING AND/OR WILLFUL VIOLATION OF
              THE TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227 ET SEQ.)

       87.       Plaintiffs hereby incorporate by reference and re-allege each and every allegation

set forth in each and every preceding paragraph of this Complaint, as though fully set forth herein.

       88.       The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one of

the above cited provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. §64.1200, et seq.

       89.       As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., and 47 C.F.R.

§64.1200, et seq. Plaintiffs are entitled to an award of $1,500.00 in statutory damages, for each

and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).




PLAINTIFFS’ ORIGINAL COMPLAINT                                                         PAGE 14 OF 16
     Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 15 of 16




       90.     Plaintiffs are also entitled to and seek injunctive relief prohibiting such conduct in

the future.

                                         JURY DEMAND

        60.    Plaintiffs demand a jury trial on all issues triable to a jury.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief as follows:

                  An award of $500.00 in statutory damages, for each and every negligent

                   violation, pursuant to 47 U.S.C. § 227, et seq.;

                  An award of $1,500.00 in statutory damages, for each and every willful and/or

                   knowing violation, pursuant to 47 U.S.C. § 227, et seq.;

                  Actual damages, including mental anguish; and

                  Preliminary and permanent injunctive relief enjoining Defendant, its agents,

                   servants and employees, and all persons acting in concert with them, from

                   engaging in, and continuing to engage in, the unlawful calls made with

                   automated dialing Systems to cellular phones, and enjoining Defendant from

                   engaging in abusive and oppressive collection practices as outlined in this

                   Complaint.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                       PAGE 15 OF 16
    Case 4:17-cv-01269 Document 1 Filed on 04/25/17 in TXSD Page 16 of 16




Dated: April 25, 2017              Respectfully submitted,


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PLAINTIFFS’ ORIGINAL COMPLAINT                                        PAGE 16 OF 16
